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                                      U.S. Department of Justice
                                      Civil Division
                                      950 Pennsylvania Ave., N.W., Room 7224
                                      Washington, D.C. 20530-0001

                                                           Tel: (202) 353-0213
VIA CM/ECF

                                      January 6, 2023

Lyle W. Cayce
Clerk of Court
United States Court of Appeals for the Fifth Circuit
F. Edward Hebert Building
600 S. Maestri Place
New Orleans, LA 70130

      Re:   Louisiana et al. v. CDC et al., No. 22-30303

Dear Mr. Cayce:

       The federal government respectfully provides notice of the Supreme Court’s
stay of the order in Huisha-Huisha v. Mayorkas, No. 21-cv-00100 (D.D.C. Nov.
15, 2022).

      As the government previously explained, the Huisha-Huisha order
permanently enjoined the government from applying the Title 42 policy to a class
of family units and vacated CDC’s Title 42 rule and orders. The vacated Title 42
orders are the same orders that CDC sought to terminate in the April 2022
termination order that is at issue in the appeal before this Court. The Huisha-
Huisha court granted a temporary stay of its decision until December 21, 2022, to
allow the government time for an orderly transition.

      The government filed a notice of appeal of the Huisha-Huisha decision to
the D.C. Circuit. Many of the plaintiff States before this Court moved to intervene
in Huisha-Huisha and requested a stay of the Huisha-Huisha order pending appeal.
The D.C. Circuit denied intervention after finding that the States’ motion to
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intervene on appeal was untimely and the States thereafter applied for a stay from
the Supreme Court.

       After granting an initial administrative stay, the Supreme Court granted a
stay pending certiorari on December 27, 2022. This stay “precludes giving effect
to the District Court order setting aside and vacating the Title 42 policy,” but “does
not prevent the federal government from taking any action with respect to that
policy.” Op. 1. The Supreme Court also granted certiorari limited to the question
“[w]hether the State applicants may intervene to challenge the District Court’s
summary judgment order” and directed that the case “be argued in the February
2023 argument session.” Id.

       The government will accordingly continue to implement the Title 42 policy
pending the outcome of legal proceedings, consistent with the Supreme Court’s
stay and the preliminary injunction in this case.

                                       Respectfully submitted,

                                       s/ Joshua Dos Santos
                                       Joshua Dos Santos
                                       Attorney, Appellate Staff
                                       Civil Division, Room 7224
                                       U.S. Department of Justice
                                       950 Pennsylvania Avenue NW
                                       Washington, DC 20530
                                       (202) 353-0213

cc:   all counsel (via CM/ECF)
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                     CERTIFICATE OF COMPLIANCE

      This letter complies with the word count limitation of Fed. R. App. 28(j), as

its body contains 298 words as automatically totaled by Microsoft Word.

                                               s/ Joshua Dos Santos
                                             JOSHUA DOS SANTOS
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                      ATTACHMENT
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      SUPREME COURT OF THE UNITED STATES
                                _________________

                            No. 22A544 (22–592)
                                _________________


           ARIZONA, ET AL. v. ALEJANDRO MAYORKAS,
             SECRETARY OF HOMELAND SECURITY
                       ON APPLICATION FOR STAY
                            [December 27, 2022]

         The application for stay pending certiorari presented to
      THE CHIEF JUSTICE and by him referred to the Court is
      granted. The November 15, 2022 order of the United States
      District Court for the District of Columbia, case No. 1:21–
      cv–00100, is hereby stayed. Applicants suggested this
      Court treat the application as a petition for a writ of certio-
      rari; doing so, the petition is granted. The parties are di-
      rected to brief and argue the following question: Whether
      the State applicants may intervene to challenge the District
      Court’s summary judgment order.
         This stay precludes giving effect to the District Court or-
      der setting aside and vacating the Title 42 policy; the stay
      itself does not prevent the federal government from taking
      any action with respect to that policy. The Court’s review
      on certiorari is limited to the question of intervention.
      While the underlying merits of the District Court’s sum-
      mary judgment order are pertinent to that analysis, the
      Court does not grant review of those merits, which have not
      yet been addressed by the Court of Appeals.
         The Clerk is directed to establish a briefing schedule that
      will allow the case to be argued in the February 2023 argu-
      ment session. The stay shall terminate upon the sending
      down of the judgment of this Court. The order heretofore
      entered by THE CHIEF JUSTICE is vacated.
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      2                  ARIZONA v. MAYORKAS

                          GORSUCH, J., dissenting

         JUSTICE SOTOMAYOR and JUSTICE KAGAN would deny the
      application.
         JUSTICE GORSUCH, with whom JUSTICE JACKSON joins,
      dissenting.
         From March 2020 to April 2022, the Centers for Disease
      Control and Prevention responded to the COVID–19 pan-
      demic by issuing a series of emergency decrees. Those de-
      crees—often called “Title 42 orders”—severely restricted
      immigration to this country on the ground that it posed a
      “serious danger” of “introduc[ing]” a “communicable dis-
      ease.” 58 Stat. 704, 42 U. S. C. §265. Fast forward to a few
      weeks ago. A district court held that the Title 42 orders
      were arbitrary and capricious, vacated them, and enjoined
      their operation. On appeal, Arizona and certain other
      States moved to intervene to challenge the district court’s
      ruling, arguing that the federal government would not de-
      fend the Title 42 orders as vigorously as they might. The
      D. C. Circuit denied the States’ motion. In response, the
      States have now come to this Court seeking two things.
      First, the States ask us to grant expedited review of the
      D. C. Circuit’s intervention ruling. Second, the States ask
      us to stay the district court’s judgment while we review the
      D. C. Circuit’s intervention ruling. This stay would effec-
      tively require the federal government to continue enforcing
      the Title 42 orders indefinitely. Today, the Court obliges
      both requests. Respectfully, I believe these decisions un-
      wise.
         Reasonable minds can disagree about the merits of the
      D. C. Circuit’s intervention ruling. But that case-specific
      decision is not of special importance in its own right and
      would not normally warrant expedited review. The D. C.
      Circuit’s intervention ruling takes on whatever salience it
      has only because of its presence in a larger underlying dis-
      pute about the Title 42 orders. And on that score, it is un-
      clear what we might accomplish. Even if at the end of it all
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                          GORSUCH, J., dissenting

      we find that the States are permitted to intervene, and even
      if the States manage on remand to demonstrate that the
      Title 42 orders were lawfully adopted, the emergency on
      which those orders were premised has long since lapsed. In
      April 2022, the federal government terminated the Title 42
      orders after determining that emergency immigration re-
      strictions were no longer necessary or appropriate to ad-
      dress COVID–19. 87 Fed. Reg. 19944. The States may
      question whether the government followed the right admin-
      istrative steps before issuing this decision (an issue on
      which I express no view). But they do not seriously dispute
      that the public-health justification undergirding the Title
      42 orders has lapsed. And it is hardly obvious why we
      should rush in to review a ruling on a motion to intervene
      in a case concerning emergency decrees that have outlived
      their shelf life.
         The only plausible reason for stepping in at this stage
      that I can discern has to do with the States’ second request.
      The States contend that they face an immigration crisis at
      the border and policymakers have failed to agree on ade-
      quate measures to address it. The only means left to miti-
      gate the crisis, the States suggest, is an order from this
      Court directing the federal government to continue its
      COVID-era Title 42 policies as long as possible—at the very
      least during the pendency of our review. Today, the Court
      supplies just such an order. For my part, I do not discount
      the States’ concerns.       Even the federal government
      acknowledges “that the end of the Title 42 orders will likely
      have disruptive consequences.” Brief in Opposition for Fed-
      eral Respondents 6. But the current border crisis is not a
      COVID crisis. And courts should not be in the business of
      perpetuating administrative edicts designed for one emer-
      gency only because elected officials have failed to address a
      different emergency. We are a court of law, not policymak-
      ers of last resort.
